           Case 1:19-vv-00445-UNJ Document 42 Filed 02/04/21 Page 1 of 2




    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-0445V
                                        (not to be published)


    VERA VERONICA KELLY,
                                                                Chief Special Master Corcoran
                          Petitioner,
    v.                                                          Filed: December 9, 2020


    SECRETARY OF HEALTH AND                                     Special Processing Unit                 (SPU);
    HUMAN SERVICES,                                             Attorney’s Fees and Costs


                         Respondent.


Elizabeth Martin Muldowney, Sands Anderson, P.C., Richmond, VA, for Petitioner.

Voris Edward Johnson, U.S. Department of Justice, Washington, DC, for Respondent.

                       DECISION ON ATTORNEY’S FEES AND COSTS 1

       On March 26, 2019, Vera Kelly filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the “Vaccine
Act”). Petitioner alleges that she suffered a left shoulder injury related to vaccine
administration as a result of a tetanus-diphtheria-acellular pertussis vaccination
administered on January 25, 2017. (Petition at 1). On September 16, 2020, a decision
was issued awarding compensation to Petitioner based on the Respondent’s proffer.
(ECF No. 30).

1
   Because this unpublished Decision contains a reasoned explanation f or the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If , upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all “§” ref erences to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
          Case 1:19-vv-00445-UNJ Document 42 Filed 02/04/21 Page 2 of 2




        Petitioner has now filed a motion for attorney’s fees and costs, dated November
17, 2020, (ECF No. 35), requesting a total award of $28,294.44 (representing $27,124.50
in fees and $1,169.94 in costs). In accordance with General Order #9, Petitioner filed a
signed indicating that Petitioner has/has not incurred no out-of-pocket expenses. (ECF
No. 35). Respondent reacted to the motion on November 23, 2020 indicating that he is
satisfied that the statutory requirements for an award of attorney’s fees and costs are met
in this case and defers to the Court’s discretion to determine the amount to be awarded.
(ECF No. 37). On November 25, 2020, Petitioner filed a reply requesting the full amount
of attorney fees and costs be awarded. (ECF No. 38.)

       I have reviewed the billing records submitted with Petitioner’s request. In my
experience, the request appears reasonable, and I find no cause to reduce the requested
hours or rates.

       The Vaccine Act permits an award of reasonable attorney’s fees and costs. §
15(e). Accordingly, I hereby GRANT Petitioner’s Motion for attorney’s fees and costs. I
award a total of $28,294.44 (representing $27,124.50 in fees and $1,169.94 in costs) as
a lump sum in the form of a check jointly payable to Petitioner and Petitioner’s counsel.
In the absence of a timely-filed motion for review (see Appendix B to the Rules of the
Court), the Clerk shall enter judgment in accordance with this decision. 3

IT IS SO ORDERED.

                                                      s/Brian H. Corcoran
                                                      Brian H. Corcoran
                                                      Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by f iling a joint notice
renouncing their right to seek review.
                                                  2
